              Case 2:17-cv-01297-MJP Document 138 Filed 01/25/18 Page 1 of 5



 1                                                                   The Honorable Marsha J. Pechman
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 8                          UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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10   RYAN KARNOSKI, et al.,                                  Case No. 2:17-cv-01297-MJP
11                           Plaintiffs,
12                   v.                                      DECLARATION OF JANE DOE IN
13                                                           SUPPORT OF PLAINTIFFS’ MOTION
     DONALD J. TRUMP, in his official capacity as            FOR SUMMARY JUDGMENT
14   President of the United States, et al.,

15                           Defendants.

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            I, Jane Doe, declare as follows:
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            1.      I am a plaintiff in the above-captioned action. I have actual knowledge of the
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     matters stated in this declaration.
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            2.      I am a 29-year-old woman, and I am currently serving in the U.S. military.
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            3.      I am also transgender, although I have not yet transitioned to living openly as a
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     woman. Because of the federal government’s recently announced policy with respect to
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     transgender service members, I am limiting the information in my testimony to exclude
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     identifying information, for fear that I would be separated from the military on the basis of my
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     transgender status or face other negative consequences.
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            4.      I joined the military to serve my country and for the security and stability that a
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     military career provides. I enjoy the challenge my military career provides, and I take pride in
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     my role in protecting our country and helping others save innocent lives.
     DECLARATION OF JANE DOE IN SUPPORT                                        2101 Fourth Avenue, Suite 1500
     OF PLAINTIFFS’ MOTION FOR S - 1                  NEWMAN DU WORS LLP         Seattle, Washington 98121
     [2:17-cv-01297-MJP]                                                               (206) 274-2800
               Case 2:17-cv-01297-MJP Document 138 Filed 01/25/18 Page 2 of 5



 1           5.     I desire to continue serving in the military for the maximum number of years I am

 2   permitted to do so openly. My re-enlistment window opens within the year.

 3           6.     I was assigned the sex of male at birth. However, I have felt since I was 11 years

 4   old, and known since I was 20 years old, that I am female. I have long hoped to be able to

 5   transition to living openly as a woman, but the prospect of doing so felt unattainable in the past,

 6   without a supportive environment in which to transition.

 7           7.     On or around June 30, 2016, I became aware that the ban on open military service

 8   by transgender individuals had been lifted. I was very excited and nervous about the possibility

 9   of serving openly as a woman. In October 2016, I began extensively reviewing the materials the

10   military was releasing to implement the lifting of the ban. In December 2016, I attended my

11   command-level training on the new policy. Around that time, I decided to come out as

12   transgender to select colleagues whom I felt I could trust. I also researched what was required to

13   formally change my gender marker in the military’s Defense Enrollment Eligibility Reporting

14   System.

15           8.     I decided to begin my legal and medical transition and begin the process of

16   officially changing my gender marker once I was posted at my next assigned location. I planned

17   to time and structure my transition so that it was as smooth as possible for me and others. I

18   wanted to work carefully with military medical personnel and my Commanding Officer, giving

19   him plenty of time to prepare my unit so that my transition would go smoothly for everyone. I

20   also wanted the other service members at my next assigned location to get to know me as a

21   valuable individual member of the team. I additionally wanted to give myself some time to come

22   out to individuals to whom I could look for support. I transferred to this assigned location in July

23   2017.

24           9.     On July 26, 2017, President Trump posted three tweets that said that transgender

25   people would not be able to serve in the military “in any capacity.” After I saw the President’s

26   tweets, I decided to put my plans to transition, come out as transgender, live openly as a woman,

27   and change my gender marker, on hold.

28           10.    Because of this change in policy, I have not come out to anyone in my chain of

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     [2:17-cv-01297-MJP]                                                               (206) 274-2800
              Case 2:17-cv-01297-MJP Document 138 Filed 01/25/18 Page 3 of 5



 1   command. I am open to a few select individuals with whom I serve, as well as a group of

 2   veterans with whom I communicate about my gender identity for support and friendship.

 3          11.     I have been extremely anxious and stressed about what to do next. I have placed

 4   my life “on hold.” I have not come out as transgender to any additional people in my life; I have

 5   not pursued any of the steps required for me to transition; and I no longer know if I will be able

 6   to continue serving in the military, a career that I love and wish to continue. This is all due to the

 7   announced policy banning transgender people like me from serving openly in the military.

 8   Because lawsuits regarding the policy are still pending and have not been finally resolved, I

 9   remain concerned that the military could ultimately implement a ban on transgender service

10   members. If I were to come out in the interim, then I could lose everything if I were subject to

11   discharge based on my transgender status.

12          12.     Furthermore, I am aware that the President issued a memorandum on August 25,

13   2017 mandating that the federal government stop providing transition-related surgical care as of

14   March 23, 2018. This ban on surgical care contains a limited exception for situations in which

15   surgical care is “necessary to protect the health of an individual who has already begun a course

16   of treatment to reassign his or her sex.” Because I have not yet transitioned to living openly as

17   female, I have not “begun a course of treatment to reassign [my] sex,” even assuming the other

18   conditions for the exception were satisfied.

19          13.     Based on my individual circumstances, I will need surgical care as part of my

20   transition. However, the President’s policy prohibits that care. Furthermore, because I have not

21   yet begun my transition, I do not qualify for the limited exception contained in the policy.

22          14.     I am terrified that my career will be brought to an early end because of the

23   President’s decision to ban transgender individuals from military service.

24          15.     The ban on open service for transgender military personnel harms my mental and

25   emotional health by causing me to continue living as if I were a man, even though I am a

26   woman, and by indefinitely delaying, if not altogether prohibiting, my medical and legal

27   transition to living openly as female.

28          16.     In short, I am caught between a rock and a hard place. If I transition, I lose my

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     [2:17-cv-01297-MJP]                                                                (206) 274-2800
Case 2:17-cv-01297-MJP Document 138 Filed 01/25/18 Page 4 of 5
              Case 2:17-cv-01297-MJP Document 138 Filed 01/25/18 Page 5 of 5



 1                                   CERTIFICATE OF SERVICE

 2          The undersigned certifies under penalty of perjury under the laws of the United States of

 3   America and the laws of the State of Washington that all participants in the case are registered

 4   CM/ECF users and that service of the foregoing documents will be accomplished by the

 5   CM/ECF system on January 25, 2018.

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                                                  Derek A. Newman, WSBA #26967
 8                                                dn@newmanlaw.com
 9                                                Newman Du Wors LLP
                                                  2101 Fourth Ave., Ste. 1500
10                                                Seattle, WA 98121
                                                  (206) 274-2800
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